                               Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 1 of 44

 Fill in this information to identify the case:

 Debtor name                                 C-CO Holdings, LLC

 United States Bankruptcy Court for the:
                         Southern District of Texas, Houston Division

 Case number (if known):                 20-32746
                                                                                                                                          ❑Check if this is an
                                                                                                                                             amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in which
the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as fully depreciated
assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s name and
case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached, include the amounts
from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or depreciation
schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct the value of secured
claims. See the instructions to understand the terms used in this form.


 Part 1: Cash and cash equivalents


  1.   Does the debtor have any cash or cash equivalents?
       ❑No. Go to Part 2.
       ✔Yes. Fill in the information below.
       ❑
       All cash or cash equivalents owned or controlled by the debtor                                                                         Current value of debtor's
                                                                                                                                              interest

  2.   Cash on hand                                                                                                                                              $6,800.00

  3.   Checking, savings, money market, or financial brokerage accounts (Identify all)
       Name of institution (bank or brokerage firm)                Type of account                      Last 4 digits of account number
       3.1 Bank of America                                              Checking account                                                                       $2,000.00

       3.2 Bank of America                                               Savings account                                                                       $4,800.00

  4.   Other cash equivalents (Identify all)
       None

  5.   Total of Part 1
                                                                                                                                                              $13,600.00
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



 Part 2: Deposits and prepayments


  6.   Does the debtor have any deposits or prepayments?
       ✔ No. Go to Part 3.
       ❑
       ❑Yes. Fill in the information below.
                                                                                                                                              Current value of debtor's
                                                                                                                                              interest
  7.   Deposits, including security deposits and utility deposits
       Description, including name of holder of deposit
       None




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                              page 1
                               Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 2 of 44

Debtor         C-CO Holdings, LLC                                                                                       Case number (if known)            20-32746
              Name


  8.     Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment

         None


  9.     Total of Part 2
         Add lines 7 through 8 (including amounts on any additional sheets). Copy the total to line 81.



 Part 3: Accounts receivable


  10.     Does the debtor have any accounts receivable?
          ❑No. Go to Part 4.
          ✔Yes. Fill in the information below.
          ❑

                                                                                                                                                 Current value of debtor's
                                                                                                                                                 interest

  11.    Accounts Receivable

         11a. 90 days old or less:                   $28,800.00              -                   $28,800.00               = ...... ➔                                 $0.00
                                       face amount                                 doubtful or uncollectible accounts


         11b. Over 90 days old:                        $0.00                 -                     $0.00                  = ...... ➔                                 $0.00
                                       face amount                                 doubtful or uncollectible accounts


  12.    Total of Part 3
                                                                                                                                                                     $0.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.



 Part 4: Investments


  13.     Does the debtor own any investments?
          ✔ No. Go to Part 5.
          ❑
          ❑Yes. Fill in the information below.

                                                                                                                  Valuation method used for      Current value of debtor's
                                                                                                                  current value                  interest

  14.     Mutual funds or publicly traded stocks not included in Part 1
          Name of fund or stock:

          None


  15.    Non-publicly traded stock and interests in incorporated and unincorporated businesses,
         including any interest in an LLC, partnership, or joint venture
          Name of fund or stock:                                                           % of ownership:

          None


  16.    Government bonds, corporate bonds, and other negotiable and non-negotiable
         instruments not included in Part 1
          Describe:

Official Form 106A/B                                                                  Schedule A/B: Property                                                    page 2
                               Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 3 of 44

Debtor        C-CO Holdings, LLC                                                                                Case number (if known)            20-32746
             Name



         None


  17.    Total of Part 4
         Add lines 14 through 16 (including any additional sheets). Copy the total to line 83.



 Part 5: Inventory, excluding agriculture assets


  18.    Does the debtor own any inventory (excluding agriculture assets)?
         ✔ No. Go to Part 6.
         ❑
         ❑Yes. Fill in the information below.

         General description                                    Date of the last          Net book value of   Valuation method used      Current value of debtor's
                                                                physical inventory        debtor's interest   for current value          interest
                                                                                          (Where available)


  19.    Raw materials

         None

  20.    Work in progress

         None

  21.    Finished goods, including goods held for resale

         None

  22.    Other inventory or supplies

         None

  23.    Total of Part 5
         Add lines 19 through 22 (including any additional sheets). Copy the total to line 84.

  24.    Is any of the property listed in Part 5 perishable?
         ✔ No
         ❑
         ❑Yes
  25.    Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑Yes
  26.    Has any of the property listed in Part 5 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)


  27.    Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
         ✔ No. Go to Part 7.
         ❑
         ❑Yes. Fill in the information below.


Official Form 106A/B                                                              Schedule A/B: Property                                                page 3
                               Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 4 of 44

Debtor        C-CO Holdings, LLC                                                                                Case number (if known)            20-32746
             Name



         General description                                                          Net book value of       Valuation method used      Current value of debtor's
                                                                                      debtor's interest       for current value          interest
                                                                                          (Where available)


  28.    Crops — either planted or harvested

         None


  29.    Farm animals Examples: Livestock, poultry, farm-raised fish

         None


  30.    Farm machinery and equipment (Other than titled motor vehicles)

         None

  31.    Farm and fishing supplies, chemicals, and feed

         None


  32.    Other farming and fishing-related property not already listed in Part 6

         None

  33.    Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.

  34.    Is the debtor a member of an agricultural cooperative?
         ✔ No
         ❑
         ❑Yes. Is any of the debtor's property stored at the cooperative?
            ❑No
            ❑Yes

  35.    Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑Yes
  36.    Is a depreciation schedule available for any of the property listed in Part 6?
         ✔ No
         ❑
         ❑Yes
  37.    Has any of the property listed in Part 6 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 7: Office furniture, fixtures, and equipment; and collectibles


  38.    Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
         ❑No. Go to Part 8.
         ✔Yes. Fill in the information below.
         ❑



Official Form 106A/B                                                           Schedule A/B: Property                                                   page 4
                               Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 5 of 44

Debtor        C-CO Holdings, LLC                                                                                 Case number (if known)            20-32746
             Name



         General description                                                               Net book value of   Valuation method used      Current value of debtor's
                                                                                           debtor's interest   for current value          interest
                                                                                           (Where available)


  39.    Office furniture

         None


  40.    Office fixtures

         None


  41.    Office equipment, including all computer equipment and
         communication systems equipment and software

         41.1 Misc. tools                                                                          (Unknown)                                            $10,000.00


         Additional Page Total - See continuation page for additional entries                                                                           $17,900.00

  42.    Collectibles Examples: Antiques and figurines; paintings, prints or other
         artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
         or baseball card collections; other collections, memorabilia, or collectibles


         None


  43.    Total of Part 7
                                                                                                                                                        $27,900.00
         Add lines 39 through 42. Copy the total to line 86.

  44.    Is a depreciation schedule available for any of the property listed in Part 7?
         ✔ No
         ❑
         ❑Yes
  45.    Has any of the property listed in Part 7 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 8: Machinery, equipment, and vehicles


  46.    Does the debtor own or lease any machinery, equipment, or vehicles?
         ❑No. Go to Part 9.
         ✔Yes. Fill in the information below.
         ❑
         General description                                                               Net book value of   Valuation method used      Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN, or         debtor's interest   for current value          interest
         N-number)                                                                         (Where available)


  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


         47.1 John Deere 5100 / VIN: 1LV5100EHKK406027 Tractor                                     (Unknown)                                            $40,000.00


         47.2 John Deere 5100 / VIN: 1LV5100ECKK102917 Tractor                                     (Unknown)                                            $40,000.00



Official Form 106A/B                                                               Schedule A/B: Property                                                page 5
                               Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 6 of 44

Debtor        C-CO Holdings, LLC                                                                                      Case number (if known)            20-32746
             Name



         47.3 John Deere 5100 / VIN: 1LV5100EVHH100902 Tractor                                     (Unknown)                                                 $40,000.00


         Additional Page Total - See continuation page for additional entries                                                                               $220,000.00

  48.    Watercraft, trailers, motors, and related accessories Examples: Boats,
         trailers, motors, floating homes, personal watercraft, and fishing vessels


         None


  49. Aircraft and accessories

         None


  50.    Other machinery, fixtures, and equipment (excluding farm machinery
         and equipment)

              R15 / VIN: 1POOR15EKKC000379 Flex Wing Rotary Cutter                                 (Unknown)                                                 $15,000.00
         50.1 attachment


         Additional Page Total - See continuation page for additional entries                                                                                $92,000.00

  51.    Total of Part 8
                                                                                                                                                            $447,000.00
         Add lines 47 through 50. Copy the total to line 87.

  52.    Is a depreciation schedule available for any of the property listed in Part 8?
         ✔ No
         ❑
         ❑Yes

  53.    Has any of the property listed in Part 8 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 9: Real Property


  54.    Does the debtor own or lease any real property?
         ✔ No. Go to Part 10.
         ❑
         ❑Yes. Fill in the information below.

         General description                                    Nature and extent of      Net book value of        Valuation method used       Current value of debtor's
         Include street address or other description such as    debtor's interest in      debtor's interest        for current value           interest
         Assessor Parcel Number (APN), and type of property     property                  (Where available)
         (for example, acreage, factory, warehouse, apartment
         or office building), if available


  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has interest

         None


  56.    Total of Part 9
         Add the current value on lines 55.1 through 55.3 and entries from any addition sheets. Copy the total to line 88.




Official Form 106A/B                                                              Schedule A/B: Property                                                      page 6
                               Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 7 of 44

Debtor        C-CO Holdings, LLC                                                                                   Case number (if known)            20-32746
             Name



  57.    Is a depreciation schedule available for any of the property listed in Part 9?
         ✔ No
         ❑
         ❑Yes
  58.    Has any of the property listed in Part 9 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 10: Intangibles and Intellectual Property


  59.    Does the debtor have any interests in intangibles or intellectual property?
         ✔ No. Go to Part 11.
         ❑
         ❑Yes. Fill in the information below.

         General description                                                           Net book value of       Valuation method used        Current value of debtor's
                                                                                       debtor's interest       for current value            interest
                                                                                          (Where available)


  60.    Patents, copyrights, trademarks, and trade secrets

         None

  61.    Internet domain names and websites

         None


  62.    Licenses, franchises, and royalties

         None

  63.    Customer lists, mailing lists, or other compilations

         None


  64.    Other intangibles, or intellectual property

         None

  65.    Goodwill

         None


  66.    Total of Part 10
         Add lines 60 through 65. Copy the total to line 89.

  67.    Do your lists or records include personally identifiable information of customers? (as defined in 11 U.S.C. §§ 101(41A) and 107)
         ✔ No
         ❑
         ❑Yes
  68.    Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         ✔ No
         ❑
         ❑Yes


Official Form 106A/B                                                           Schedule A/B: Property                                                      page 7
                              Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 8 of 44

Debtor        C-CO Holdings, LLC                                                                            Case number (if known)            20-32746
             Name


  69.    Has any of the property listed in Part 10 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 11: All other assets


  70.    Does the debtor own any other assets that have not yet been reported on this form?
         ✔ No. Go to Part 12.
         ❑
         ❑Yes. Fill in the information below.

                                                                                                                                     Current value of debtor's
                                                                                                                                     interest

  71.    Notes receivable
         Description (include name of obligor)

         None


  72.    Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

         None


  73.    Interests in insurance policies or annuities

         None


  74.    Causes of action against third parties (whether or not a lawsuit has been filed)

         None


  75.    Other contingent and unliquidated claims or causes of action of every nature,
         including counterclaims of the debtor and rights to set off claims

         None


  76.    Trusts, equitable or future interests in property

         None


  77.    Other property of any kind not already listed Examples: Season tickets,
         country club membership

         None


  78.    Total of Part 11
         Add lines 71 through 77. Copy the total to line 90.

  79.    Has any of the property listed in Part 11 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes



Official Form 106A/B                                                          Schedule A/B: Property                                                page 8
                                     Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 9 of 44

Debtor         C-CO Holdings, LLC                                                                                                                Case number (if known)       20-32746
              Name



 Part 12: Summary


         Type of property                                                                     Current value of                                Current value
                                                                                              personal property                               of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5,
      Part 1.                                                                                                   $13,600.00

  81. Deposits and prepayments. Copy line 9, Part 2.


  82. Accounts receivable. Copy line 12, Part 3.                                                                      $0.00

  83. Investments. Copy line 17, Part 4.


  84. Inventory. Copy line 23, Part 5.


  85. Farming and fishing-related assets. Copy line 33, Part 6.


  86. Office furniture, fixtures, and equipment; collectibles.
      Copy line 43, Part 7.                                                                                     $27,900.00

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                $447,000.00


                                                                                                                                    ➔
  88. Real property. Copy line 56, Part 9..........................................................................

  89. Intangibles and intellectual property. Copy line 66, Part 10.


  90. All other assets. Copy line 78, Part 11.                                           +



  91. Total. Add lines 80 through 90 for each column......                           91a.                     $488,500.00        + 91b.                               $0.00



                                                                                                                                                                                 $488,500.00
  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92 .................................................................................................




Official Form 206A/B                                                            Schedule A/B: Assets — Real and Personal Property                                                page 9
                             Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 10 of 44

Debtor        C-CO Holdings, LLC                                                                              Case number (if known)            20-32746
             Name



          Additional Page


         General description                                                           Net book value of    Valuation method used      Current value of debtor's
                                                                                       debtor's interest    for current value          interest
                                                                                       (Where available)

  41. Office equipment - Continued

         41.2 Trimmers                                                                          (Unknown)                                             $9,000.00

         41.3 Blowers                                                                           (Unknown)                                               $450.00

         41.4 Tanks                                                                             (Unknown)                                             $1,200.00

         41.5 Signs/safety equipment                                                            (Unknown)                                               $250.00

         41.6 Hand tools                                                                        (Unknown)                                               $200.00

         41.7 Air tools                                                                         (Unknown)                                               $200.00

         41.8 Air compressor                                                                    (Unknown)                                               $600.00

         41.9 Electric hand tools                                                               (Unknown)                                               $300.00

         41.10 Tool boxes                                                                       (Unknown)                                               $200.00

         41.11 Drop tank                                                                        (Unknown)                                             $1,000.00

         41.12 Trailer (20 ft)                                                                  (Unknown)                                             $4,000.00

         41.13 Misc. replacement parts                                                          (Unknown)                                               $300.00

         41.14 Computer                                                                         (Unknown)                                               $200.00

         General description                                                           Net book value of    Valuation method used      Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN, or     debtor's interest    for current value          interest
         N-number)                                                                     (Where available)

  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles - Continued

         47.4 John Deere 5100 / VIN: 1LV5100EHKK102941 Tractor                                  (Unknown)                                            $40,000.00

         47.5 John Deere 5100 / VIN: 1LV5100ECKK102926 Tractor                                  (Unknown)                                            $40,000.00

         47.6 John Deere 5100 / VIN: 1LV5100EEKK102925 Tractor                                  (Unknown)                                            $40,000.00

         47.7 John Deere 5100 / VIN: 1LV5100EKKK103000 Tractor                                  (Unknown)                                            $50,000.00

         47.8 Kubota M5-111HDC / VIN: 58661 Tractor                                             (Unknown)                                            $50,000.00

  50. Other machinery, fixtures, and equipment - Continued
              R15 / VIN: 1POOR15EPKC000381 Flex Wing Rotary Cutter
         50.2 attachment                                                                        (Unknown)                                            $15,000.00

              R15 / VIN: 1POOR15ETKC000377 Flex Wing Rotary Cutter
         50.3 attachment                                                                        (Unknown)                                            $15,000.00

              R15 / VIN: 1POOR15EEKC000392 Flex Wing Rotary Cutter
         50.4 attachment                                                                        (Unknown)                                            $15,000.00

              R15 / VIN: 1POOR15EAKC000551 Flex Wing Rotary Cutter
         50.5 attachment                                                                        (Unknown)                                            $15,000.00

              M15 / VIN: 1POOM15CEKA000630 Flex Wing Rotary Cutter
         50.6 attachment                                                                        (Unknown)                                            $12,000.00




Official Form 106A/B                                                             Schedule A/B: Property                                              page 10
                           Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 11 of 44

Debtor       C-CO Holdings, LLC                                                                       Case number (if known)   20-32746
            Name



          Additional Page


         50.7 Modern AG 15' Raptor / VIN: 99272 Rotary Cutter attachment                  (Unknown)                                 $5,000.00



              R15 / VIN: 1POOR15EVKA000172 Flex Wing Rotary Cutter                        (Unknown)                                $15,000.00
         50.8 attachment




Official Form 106A/B                                                       Schedule A/B: Property                                  page 11
                              Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 12 of 44

 Fill in this information to identify the case:

 Debtor name                                 C-CO Holdings, LLC

 United States Bankruptcy Court for the:
                          Southern District of Texas, Houston Division

 Case number (if known):                 20-32746
                                                                                                                                            ❑Check if this is an
                                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
      ❑No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
      ✔Yes. Fill in all of the information below.
      ❑
 Part 1: List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured claim,     Column A                   Column B
        list the creditor separately for each claim.
                                                                                                                             Amount of claim            Value of collateral
                                                                                                                             Do not deduct the          that supports this
                                                                                                                             value of collateral.       claim

2.1 Creditor’s name                                           Describe debtor’s property that is subject to a lien                    $600,000.00                  $392,000.00
    Deere & Company                                           R15
                                                              Flex Wing Rotary Cutter attachment
        Creditor's mailing address
                                                              John Deere 5100
         Deere & Company                                       Tractor
        6400 Nw 86th St                                       M15
                                                              Flex Wing Rotary Cutter attachment
        Johnston, IA 50131-2945
                                                              R15
        Creditor's email address, if known
                                                              Flex Wing Rotary Cutter attachment
                                                              John Deere 5100
        Date debt was incurred        08/23/2019               Tractor
        Last 4 digits of account                              See continuation page.
        number
        Do multiple creditors have an interest in the same Describe the lien
        property?
        ✔ No.
        ❑                                                     Is the creditor an insider or related party?
                                                               ✔
        ❑Yes. Specify each creditor, including this creditor, ❑No
               and its relative priority.                     ❑Yes.
                                                              Is anyone else liable on this claim?
                                                              ❑✔ No
                                                              ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                              As of the petition filing date, the claim is:
                                                              Check all that apply.
                                                              ❑Contingent
                                                              ❑Unliquidated
                                                              ❑Disputed




 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional
        Page, if any.                                                                                                                 $695,000.00




Official Form 206D                                         Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 5
                          Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 13 of 44

Debtor     C-CO Holdings, LLC                                                                                    Case number (if known)           20-32746
           Name

                                                                                                                        Column A                Column B
 Part 1: Additional Page
                                                                                                                        Amount of claim         Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous               Do not deduct the       that supports this
 page.                                                                                                                  value of collateral.    claim



2.2 Creditor’s name                                       Describe debtor’s property that is subject to a lien                     $24,000.00                unknown
    First Corporate Solutions                             Describe the lien

     Creditor's mailing address
                                                          Is the creditor an insider or related party?
      914 S St                                            ❑✔ No
      Sacramento, CA 95811-7025                           ❑Yes.
     Creditor's email address, if known                   Is anyone else liable on this claim?
     Sprs@ficoso.com                                      ❑✔ No
     Date debt was incurred                               ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Last 4 digits of account                           As of the petition filing date, the claim is:
     number                                             Check all that apply.
     Do multiple creditors have an interest in the same ❑Contingent
     property?                                          ❑Unliquidated
     ✔
     ❑No.                                               ❑Disputed
     ❑Yes. Have you already specified the relative
             priority?




Official Form 206D                          Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 2 of 5
                              Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 14 of 44

Debtor      C-CO Holdings, LLC                                                                                        Case number (if known)           20-32746
           Name

                                                                                                                             Column A                Column B
 Part 1: Additional Page
                                                                                                                             Amount of claim         Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous                    Do not deduct the       that supports this
 page.                                                                                                                       value of collateral.    claim

2.3 Creditor’s name                                            Describe debtor’s property that is subject to a lien                     $71,000.00              $55,000.00
    Kubota Credit Corportation, U.S.A                          Kubota M5-111HDC
                                                               Tractor
     Creditor's mailing address                                Modern AG 15' Raptor
                                                               Rotary Cutter attachment
      PO Box 2046
      Grapevine, TX 76099-2046                                 Describe the lien

     Creditor's email address, if known
                                                               Is the creditor an insider or related party?
                                                               ❑✔ No
     Date debt was incurred                                    ❑Yes.
     Last 4 digits of account                           Is anyone else liable on this claim?
     number
                                                        ❑✔ No
     Do multiple creditors have an interest in the same ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     property?
     ✔ No.
     ❑
                                                        As of the petition filing date, the claim is:
                                                        Check all that apply.

     ❑Yes. Have you already specified the relative      ❑Contingent
            priority?                                   ❑Unliquidated
                                                        ❑Disputed
         For Asset:
         Kubota M5-111HDC
         Tractor
          ✔ No. Specify each creditor, including this
          ❑
                   creditor, and its relative priority.
          ❑Yes. The relative priority of creditors is
                   specified on lines

         For Asset:
         Modern AG 15' Raptor
         Rotary Cutter attachment
          ✔ No. Specify each creditor, including this
          ❑
                   creditor, and its relative priority.
          ❑Yes. The relative priority of creditors is
                   specified on lines




Official Form 206D                                 Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 3 of 5
                           Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 15 of 44

Debtor      C-CO Holdings, LLC                                                                                  Case number (if known)               20-32746
           Name
 Part 2: List Others to Be Notified for a Debt Already Listed in Part 1

 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.
 If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

     Name and address                                                                                         On which line in Part 1      Last 4 digits of
                                                                                                              did you enter the related    account number for
                                                                                                              creditor?                    this entity


                                                                                                              Line




Official Form 206D                            Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 4 of 5
                         Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 16 of 44

Debtor     C-CO Holdings, LLC                                                                             Case number (if known)   20-32746
           Name

 Part 1: Additional Page

 2.

2.1 Creditor’s name                                Describe debtor’s property that is subject to a lien
    Deere & Company                                John Deere 5100
                                                   Tractor

                                                   John Deere 5100
                                                   Tractor

                                                   R15
                                                   Flex Wing Rotary Cutter attachment

                                                   R15
                                                   Flex Wing Rotary Cutter attachment

                                                   John Deere 5100
                                                   Tractor

                                                   John Deere 5100
                                                   Tractor

                                                   John Deere 5100
                                                   Tractor

                                                   John Deere 5100
                                                   Tractor

                                                   R15
                                                   Flex Wing Rotary Cutter attachment

                                                   R15
                                                   Flex Wing Rotary Cutter attachment

2.2 Creditor’s name                                Describe debtor’s property that is subject to a lien
    First Corporate Solutions

2.3 Creditor’s name                                Describe debtor’s property that is subject to a lien
    Kubota Credit Corportation, U.S.A




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                      page 5 of 5
                              Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 17 of 44

 Fill in this information to identify the case:

 Debtor name                                 C-CO Holdings, LLC

 United States Bankruptcy Court for the:
                         Southern District of Texas, Houston Division

 Case number (if known):                 20-32746
                                                                                                                                          ❑Check if this is an
                                                                                                                                             amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries in Parts 1 and 2
in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ❑No. Go to Part 2.
        ✔Yes. Go to line 2.
        ❑
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with
       priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                    Total claim                    Priority amount

2.1 Priority creditor’s name and mailing address              As of the petition filing date, the claim is:        $15,000.00                      $15,000.00
       Internal Revenue Service                               Check all that apply.
                                                              ❑ Contingent
       P.O. Box 7346                                          ❑ Unliquidated
       Philadelphia, PA 19101                                 ❑ Disputed
                                                              Basis for the Claim:
       Date or dates debt was incurred
                                                               Taxes

                                                              Is the claim subject to offset?
       Last 4 digits of account                               ✔ No
                                                              ❑
       number                                                 ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)
       Priority creditor’s name and mailing address           As of the petition filing date, the claim is:
2.2                                                           Check all that apply.
                                                              ❑ Contingent
                                                              ❑ Unliquidated
                                                              ❑ Disputed
                                                              Basis for the claim:
       Date or dates debt was incurred

                                                              Is the claim subject to offset?
       Last 4 digits of account                               ❑ No
       number                                                 ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a)




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 7
                            Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 18 of 44

Debtor       C-CO Holdings, LLC                                                                                     Case number (if known)                 20-32746
            Name

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.   List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill out
       and attach the Additional Page of Part 2.
                                                                                                                                              Amount of claim

3.1 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:                   $2,300.00
       Ace Cash Advance                                                        Check all that apply.
                                                                               ❑ Contingent
       300 E John Carpenter Fwy Ste 900                                        ❑ Unliquidated
                                                                               ❑ Disputed
       Irving, TX 75062-2789
                                                                               Basis for the claim: unsecured
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred                                         ✔ No
                                                                               ❑
       Last 4 digits of account number                                         ❑ Yes
3.2 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:                   $10,000.00
       Alexander Oil Company                                                   Check all that apply.
                                                                               ❑ Contingent
       PO Box 769                                                              ❑ Unliquidated
                                                                               ❑ Disputed
                                                                               Basis for the claim: unsecured
       Brenham, TX 77833                                                       Is the claim subject to offset?
                                                                               ✔ No
                                                                               ❑
                                                                               ❑ Yes
       Date or dates debt was incurred

       Last 4 digits of account number

3.3 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:                   $6,000.00
       Amber Hauling                                                           Check all that apply.
                                                                               ❑ Contingent
                                                                               ❑ Unliquidated
                                                                               ❑ Disputed
                                                                               Basis for the claim: unsecured
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred                                         ✔ No
                                                                               ❑
                                                                               ❑ Yes
       Last 4 digits of account number

       Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:                   $60,000.00
3.4                                                                            Check all that apply.
       Beck, John
                                                                               ❑ Contingent
                                                                               ❑ Unliquidated
                                                                               ❑ Disputed
                                                                               Basis for the claim: unsecured
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred                                         ✔ No
                                                                               ❑
                                                                               ❑ Yes
       Last 4 digits of account number

       Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:                   $15,000.00
3.5                                                                            Check all that apply.
       Breakerside
                                                                               ❑ Contingent
                                                                               ❑ Unliquidated
                                                                               ❑ Disputed
                                                                               Basis for the claim: unsecured
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred                                         ✔ No
                                                                               ❑
                                                                               ❑ Yes
       Last 4 digits of account number




Official Form 206E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 2 of 7
                            Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 19 of 44

Debtor        C-CO Holdings, LLC                                                                              Case number (if known)           20-32746
             Name




 Part 2: Additional Page

3.6      Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $10,000.00
         Cone, George                                                      Check all that apply.
                                                                           ❑ Contingent
                                                                           ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim: unsecured
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Last 4 digits of account number

3.7      Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $60,000.00
         Cone, Robert                                                      Check all that apply.
                                                                           ❑ Contingent
                                                                           ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim: unsecured
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Last 4 digits of account number

3.8      Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $12,500.00
         Cone, Tom                                                         Check all that apply.
                                                                           ❑ Contingent
                                                                           ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim: unsecured
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $13,000.00
3.9                                                                        Check all that apply.
         Fletcher, Jerry
                                                                           ❑ Contingent
                                                                           ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim: unsecured
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $28,000.00
3.10                                                                       Check all that apply.
         Flower, Erin
                                                                           ❑ Contingent
                                                                           ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim: unsecured
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Last 4 digits of account number




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                          page 3 of 7
                            Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 20 of 44

Debtor        C-CO Holdings, LLC                                                                              Case number (if known)           20-32746
             Name




 Part 2: Additional Page

3.11 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $2,800.00
         Gas Starter                                                       Check all that apply.
                                                                           ❑ Contingent
                                                                           ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim: unsecured
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Last 4 digits of account number

3.12 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $1,800.00
         Golden, Cedrion                                                   Check all that apply.
                                                                           ❑ Contingent
                                                                           ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number
                                                                           ❑ Yes

3.13 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $8,500.00
         Heste, Justin                                                     Check all that apply.
                                                                           ❑ Contingent
                                                                           ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim: unsecured
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $11,500.00
3.14                                                                       Check all that apply.
         Hez Westheimer
                                                                           ❑ Contingent
                                                                           ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim: unsecured
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $11,500.00
3.15                                                                       Check all that apply.
         Insurors Indemnity General Agency, Inc
                                                                           ❑ Contingent
         225 S 5th St                                                      ❑ Unliquidated
                                                                           ❑ Disputed
         Waco, TX 76701-2112
                                                                           Basis for the claim: Bond
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                          page 4 of 7
                            Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 21 of 44

Debtor         C-CO Holdings, LLC                                                                             Case number (if known)           20-32746
             Name




 Part 2: Additional Page

3.16 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $10,000.00
         KJE                                                               Check all that apply.
                                                                           ❑ Contingent
                                                                           ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim: unsecured
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Last 4 digits of account number

3.17 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $12,500.00
         McCoal, Kyle                                                      Check all that apply.
                                                                           ❑ Contingent
                                                                           ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim: unsecured
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Last 4 digits of account number

3.18 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $3,000.00
         Quick Gas                                                         Check all that apply.
                                                                           ❑ Contingent
                                                                           ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim: unsecured
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $70,000.00
3.19                                                                       Check all that apply.
         Reckling, Cliffe
                                                                           ❑ Contingent
                                                                           ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim: unsecured
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $15,000.00
3.20                                                                       Check all that apply.
         Shoyrea
                                                                           ❑ Contingent
                                                                           ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim: unsecured
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Last 4 digits of account number




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                          page 5 of 7
                            Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 22 of 44

Debtor        C-CO Holdings, LLC                                                                          Case number (if known)           20-32746
             Name




 Part 2: Additional Page

3.21 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $13,500.00
         Tex Frames                                                    Check all that apply.
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
                                                                       ❑ Disputed
                                                                       Basis for the claim: unsecured
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.22 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $25,000.00
         United                                                        Check all that apply.
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
                                                                       ❑ Disputed
                                                                       Basis for the claim: unsecured
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number

3.23 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $33,000.00
         Walker, Roy Lee                                               Check all that apply.
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
                                                                       ❑ Disputed
                                                                       Basis for the claim: unsecured
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                          page 6 of 7
                           Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 23 of 44

Debtor       C-CO Holdings, LLC                                                                       Case number (if known)   20-32746
             Name


 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                      Total of claim amounts



  5a. Total claims from Part 1                                                        5a.              $15,000.00




  5b. Total claims from Part 2                                                        5b.              $434,900.00
                                                                                             +

  5c. Total of Parts 1 and 2                                                          5c.              $449,900.00
      Lines 5a + 5b = 5c.




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                            page 7 of 7
                              Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 24 of 44

 Fill in this information to identify the case:

 Debtor name                                 C-CO Holdings, LLC

 United States Bankruptcy Court for the:
                         Southern District of Texas, Houston Division

 Case number (if known):                 20-32746               Chapter    11
                                                                                                                                         ❑Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ✔ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ❑
       ❑ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B).
 2. List all contracts and unexpired leases                                                    State the name and mailing address for all other parties with whom the
                                                                                               debtor has an executory contract or unexpired lease

        State what the contract or lease is
2.1     for and the nature of the debtor’s
        interest

        State the term remaining

        List the contract number of any
        government contract


        State what the contract or lease is
2.2     for and the nature of the debtor’s
        interest

        State the term remaining

        List the contract number of any
        government contract


        State what the contract or lease is
2.3     for and the nature of the debtor’s
        interest

        State the term remaining

        List the contract number of any
        government contract


        State what the contract or lease is
2.4     for and the nature of the debtor’s
        interest

        State the term remaining

        List the contract number of any
        government contract


        State what the contract or lease is
2.5     for and the nature of the debtor’s
        interest

        State the term remaining

        List the contract number of any
        government contract

Official Form 206G                                         Schedule G: Executory Contracts and Unexpired Leases                                                  page 1 of 1
                              Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 25 of 44

 Fill in this information to identify the case:

 Debtor name                                 C-CO Holdings, LLC

 United States Bankruptcy Court for the:
                         Southern District of Texas, Houston Division

 Case number (if known):                 20-32746
                                                                                                                                         ❑Check if this is an
                                                                                                                                             amended filing

Official Form 206H
Schedule H: Codebtors                                                                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the Additional Page to this
page.


  1. Does the debtor have any codebtors?
        ✔No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ❑
        ❑Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors, Schedules
     D-G.Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is listed. If the
     codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                                         Column 2: Creditor
                                                                                                                                                     Check all schedules
            Name                                   Mailing Address                                                  Name
                                                                                                                                                     that apply:

  2.1
                                                  Street




                                                  City                                State         ZIP Code



  2.2
                                                  Street




                                                  City                                State         ZIP Code



  2.3
                                                  Street




                                                  City                                State         ZIP Code



  2.4
                                                  Street




                                                  City                                State         ZIP Code



  2.5
                                                  Street




                                                  City                                State         ZIP Code




Official Form 206H                                                         Schedule H: Codebtors                                                              page 1 of 2
                          Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 26 of 44

Debtor      C-CO Holdings, LLC                                                                           Case number (if known)     20-32746
            Name


          Additional Page if Debtor Has More Codebtors

           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.


   Column 1: Codebtor                                                                                     Column 2: Creditor
                                                                                                                                  Check all schedules
         Name                        Mailing Address                                                      Name
                                                                                                                                  that apply:

  2.6
                                        Street




                                        City                                   State        ZIP Code




Official Form 206H                                                     Schedule H: Codebtors                                                page 2 of 2
                                          Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 27 of 44


 Fill in this information to identify the case:

 Debtor name                                                   C-CO Holdings, LLC

 United States Bankruptcy Court for the:
                                  Southern District of Texas, Houston Division

 Case number (if known):                                  20-32746                               Chapter           11
                                                                                                                                                                                                      ❑Check if this is an
                                                                                                                                                                                                         amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                             12/15

 Part 1: Summary of Assets


 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
            Copy line 88 from Schedule A/B........................................................................................................................................                                                 $0.00


    1b. Total personal property:
            Copy line 91A from Schedule A/B......................................................................................................................................                                            $488,500.00

    1c. Total of all property:
            Copy line 92 from Schedule A/B.........................................................................................................................................                                          $488,500.00




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                             $695,000.00



 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
            Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                                $15,000.00


    3b. Total amount of claims of non-priority amount of unsecured claims:
            Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                             +              $434,900.00




 4. Total liabilities..............................................................................................................................................................................                       $1,144,900.00

    Lines 2 + 3a + 3b




Official Form 206Sum                                                                                      Summary of Assets and Liabilities for Non-Individuals                                                                    page 1
                              Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 28 of 44

 Fill in this information to identify the case:

 Debtor name                                 C-CO Holdings, LLC

 United States Bankruptcy Court for the:
                         Southern District of Texas, Houston Division

 Case number (if known):                 20-32746
                                                                                                                                         ❑Check if this is an
                                                                                                                                            amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                              04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name
and case number (if known).



 Part 1: Income


 1. Gross revenue from business

    ❑None
          Identify the beginning and ending dates of the debtor’s fiscal year, which may         Sources of revenue                        Gross revenue
          be a calendar year                                                                      Check all that apply                     (before deductions and
                                                                                                                                           exclusions)

         From the beginning of the                                                               ✔ Operating a business
                                                                                                 ❑                                                              $340,000.00
         fiscal year to filing date:              From 01/01/2020
                                                        MM/ DD/ YYYY
                                                                        to    Filing date
                                                                                                 ❑Other

         For prior year:                          From 01/01/2019       to    12/31/2019         ✔ Operating a business
                                                                                                 ❑                                                              $280,000.00
                                                        MM/ DD/ YYYY           MM/ DD/ YYYY      ❑Other

         For the year before that:                From 01/01/2018       to    12/31/2018         ✔ Operating a business
                                                                                                 ❑                                                                   $0.00
                                                        MM/ DD/ YYYY           MM/ DD/ YYYY      ❑Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and royalties. List
    each source and the gross revenue for each separately. Do not include revenue listed in line 1.

    ✔None
    ❑
                                                                                                 Description of sources of revenue         Gross revenue from each
                                                                                                                                           source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the
       fiscal year to filing date:            From 01/01/2020          to    Filing date
                                                       MM/ DD/ YYYY


       For prior year:                        From 01/01/2019          to    12/31/2019
                                                       MM/ DD/ YYYY           MM/ DD/ YYYY


       For the year before that:              From 01/01/2018          to    12/31/2018
                                                       MM/ DD/ YYYY           MM/ DD/ YYYY




Official Form 207                                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
                             Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 29 of 44

Debtor           C-CO Holdings, LLC                                                                                    Case number (if known)                  20-32746
               Name



 Part 2: List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing this case unless
    the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to
    cases filed on or after the date of adjustment.)

    ✔None
    ❑

    Creditor’s name and address                                Dates               Total amount or value              Reasons for payment or transfer
                                                                                                                      Check all that apply


 3.1.                                                                                                 $0.00           ❑Secured debt
        Creditor's name                                                                                               ❑Unsecured loan repayments
                                                                                                                      ❑Suppliers or vendors
                                                                                                                      ❑Services
        Street

                                                                                                                      ❑Other
        City                          State    ZIP Code

 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or co-signed by an
    insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount may be adjusted on 4/01/22 and every 3
    years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone
    in control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
    any managing agent of the debtor. 11 U.S.C. § 101(31).
    ✔None
    ❑
    Insider’s name and address                                 Dates               Total amount or value              Reasons for payment or transfer



 4.1.
        Creditor's name


        Street




        City                          State    ZIP Code

         Relationship to debtor



 5. Repossessions, foreclosures, and returns
    List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a foreclosure sale,
    transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
    ❑None
    Creditor’s name and address                                Description of the property                                   Date                      Value of property



 5.1.    John Deere                                            John Deere Heavy Equipment                                    12/2019                          $500,000.00
        Creditor's name
         6400 Nw 86th St
        Street



         Johnston, IA 50131-2945
        City                          State    ZIP Code




Official Form 207                                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                            page 2
                             Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 30 of 44

Debtor           C-CO Holdings, LLC                                                                                     Case number (if known)                  20-32746
               Name


 6. Setoffs
    List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the debtor without
    permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
    ✔None
    ❑
    Creditor’s name and address                                Description of the action creditor took                          Date action was         Amount
                                                                                                                                taken


 5.1.
        Creditor's name
                                                                XXXX–
        Street




        City                          State    ZIP Code

 Part 3: Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
    List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any capacity
     —within 1 year before filing this case.
    ✔None
    ❑
 7.1.    Case title                               Nature of case                              Court or agency's name and address                        Status of case

                                                                                                                                                       ❑Pending
                                                                                            Name
                                                                                                                                                       ❑On appeal
         Case number                                                                                                                                   ❑Concluded
                                                                                            Street




                                                                                            City                              State   ZIP Code

 8. Assignments and receivership
    List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a receiver, custodian,
    or other court-appointed officer within 1 year before filing this case.
    ✔None
    ❑
 8.1.    Custodian’s name and address                          Description of the property                              Value


        Custodian’s name
                                                               Case title                                               Court name and address
        Street
                                                                                                                       Name

                                                               Case number                                             Street
        City                          State    ZIP Code



                                                               Date of order or assignment                             City                           State     ZIP Code




 Part 4: Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts to that
    recipient is less than $1,000
    ✔None
    ❑



Official Form 207                                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                              page 3
                               Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 31 of 44

Debtor            C-CO Holdings, LLC                                                                                    Case number (if known)                20-32746
                 Name


 9.1.     Recipient’s name and address                          Description of the gifts or contributions                    Dates given            Value


         Recipient’s name


         Street




         City                          State     ZIP Code


          Recipient’s relationship to debtor




 Part 5: Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
        ❑None
        Description of the property lost and how the loss          Amount of payments received for the loss                          Date of loss       Value of property
        occurred                                                   If you have received payments to cover the loss, for                                 lost
                                                                   example, from insurance, government compensation, or
                                                                   tort liability, list the total received.
                                                                   List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                   Assets – Real and Personal Property).


 10.1.      John Deere Gator                                                                                                        2019                        $5,000.00

 Part 6: Certain Payments or Transfers

 11. Payments related to bankruptcy
        List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this case to another
        person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a bankruptcy case.
        ❑None


 11.1.     Who was paid or who received the transfer?                If not money, describe any property transferred               Dates                Total amount or
                                                                                                                                                        value

           CORRAL TRAN SINGH, LLP                                   Retainer - $14,183.00, Due diligence report - $100.00,        3/17/2020                      $16,000.00
                                                                    Filing fee - $1,717.00
           Address

          1010 Lamar Street Ste 1160
          Street


           Houston, TX 77002
          City                          State     ZIP Code


           Email or website address



           Who made the payment, if not debtor?




Official Form 207                                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 4
                            Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 32 of 44

Debtor          C-CO Holdings, LLC                                                                                    Case number (if known)                 20-32746
                Name


 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a self-settled trust
     or similar device.
     Do not include transfers already listed on this statement.
     ✔None
     ❑

 12.1.     Name of trust or device                              Describe any property transferred                              Dates transfers         Total amount or
                                                                                                                               were made               value




           Trustee




 13. Transfers not already listed on this statement
     List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2 years before the
     filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both outright transfers and transfers
     made as security. Do not include gifts or transfers previously listed on this statement.
     ✔None
     ❑

 13.1.    Who received the transfer?                           Description of property transferred or payments                  Date transfer         Total amount or
                                                               received or debts paid in exchange                               was made              value




          Address


         Street




         City                         State     ZIP Code


          Relationship to debtor




 Part 7: Previous Locations

 14. Previous addresses
     List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
     ✔Does not apply
     ❑
    Address                                                                                                        Dates of occupancy


 14.1.                                                                                                            From                          To
         Street




         City                         State     ZIP Code




 Part 8: Health Care Bankruptcies




Official Form 207                                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                            page 5
                                Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 33 of 44

Debtor          C-CO Holdings, LLC                                                                                    Case number (if known)               20-32746
                Name


 15. Health Care bankruptcies
     Is the debtor primarily engaged in offering services and facilities for:
      —diagnosing or treating injury, deformity, or disease, or
      —providing any surgical, psychiatric, drug treatment, or obstetric care?
     ✔No. Go to Part 9.
     ❑
     ❑Yes. Fill in the information below.

          Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                             debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

 15.1.
         Facility name


         Street                                              Location where patient records are maintained(if different from facility    How are records kept?
                                                             address). If electronic, identify any service provider.
         City                       State     ZIP Code                                                                                  Check all that apply:
                                                                                                                                        ❑Electronically
                                                                                                                                        ❑Paper

 Part 9: Personally Identifiable Information


 16. Does the debtor collect and retain personally identifiable information of customers?
     ✔ No.
     ❑
     ❑Yes. State the nature of the information collected and retained.
                  Does the debtor have a privacy policy about that information?
                  ❑No
                  ❑Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-sharing plan
     made available by the debtor as an employee benefit?
     ✔No. Go to Part 10.
     ❑
     ❑Yes. Does the debtor serve as plan administrator?
           ❑No. Go to Part 10.
           ❑Yes. Fill in below:
                       Name of plan                                                                      Employer identification number of the plan

                                                                                                         EIN:           –

                       Has the plan been terminated?
                       ❑No
                       ❑Yes

 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved, or
     transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses, cooperatives,
     associations, and other financial institutions.
     ❑None




Official Form 207                                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 6
                               Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 34 of 44

Debtor          C-CO Holdings, LLC                                                                                        Case number (if known)                  20-32746
                Name


    Financial institution name and address                     Last 4 digits of account         Type of account             Date account was              Last balance
                                                               number                                                       closed, sold, moved,          before closing
                                                                                                                            or transferred                or transfer

 18.1     Fayetteville Bank                                    XXXX–                           ✔Checking
                                                                                               ❑                               2019                       $0.00
                                                                                               ❑Savings
         Name

                                                                                               ❑Money market
          123 N. Washington Street
         Street
                                                                                               ❑Brokerage
          Fayetteville, TX 78940
                                                                                               ❑Other
         City                         State   ZIP Code

 19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
        ✔None
        ❑
 19.1     Depository institution name and address              Names of anyone with access to it               Description of the contents                   Does debtor
                                                                                                                                                             still have it?

                                                                                                                                                            ❑     No
         Name
                                                                                                                                                            ❑     Yes
         Street

                                                               Address

         City                         State   ZIP Code



 20. Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the debtor does
        business.
        ✔None
        ❑
 20.1     Facility name and address                            Names of anyone with access to it               Description of the contents                   Does debtor
                                                                                                                                                             still have it?

                                                                                                                                                            ❑     No
         Name
                                                                                                                                                            ❑     Yes
         Street

                                                               Address

         City                         State   ZIP Code



 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
        List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list leased or
        rented property.
        ✔None
        ❑




Official Form 207                                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                             page 7
                             Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 35 of 44

Debtor       C-CO Holdings, LLC                                                                                        Case number (if known)                 20-32746
            Name


    Owner’s name and address                                 Location of the property                      Description of the property                    Value


   Name


   Street




   City                            State   ZIP Code

 Part 12: Details About Environmental Information



      For the purpose of Part 12, the following definitions apply:
            Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium
            affected (air, land, water, or any other medium).
            Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned, operated,
            or utilized.
            Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly harmful
            substance.
      Report all notices, releases, and proceedings known, regardless of when they occurred

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
     Include settlements and orders.
     ✔ No
     ❑
     ❑Yes. Provide details below.

    Case title                                      Court or agency name and address                      Nature of the case                             Status of case

                                                                                                                                                        ❑Pending
    Case number
                                                   Name
                                                                                                                                                        ❑On appeal
                                                                                                                                                        ❑Concluded
                                                   Street




                                                   City                           State   ZIP Code

 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an environmental law?
     ✔ No
     ❑
     ❑Yes. Provide details below.


    Site name and address                           Governmental unit name and address                   Environmental law, if known                     Date of notice


   Name                                            Name


   Street                                          Street




   City                    State    ZIP Code       City                           State   ZIP Code

 24. Has the debtor notified any governmental unit of any release of hazardous material?
     ✔ No
     ❑
     ❑Yes. Provide details below.


Official Form 207                                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 8
                              Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 36 of 44

Debtor           C-CO Holdings, LLC                                                                                    Case number (if known)                20-32746
                 Name


    Site name and address                            Governmental unit name and address                  Environmental law, if known                    Date of notice


   Name                                             Name


   Street                                           Street




   City                     State    ZIP Code       City                          State    ZIP Code




 Part 13: Details About the Debtor’s Business or Connections to Any Business



 25. Other businesses in which the debtor has or has had an interest
        List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this information
        even if already listed in the Schedules.
        ✔None
        ❑

           Business name and address                       Describe the nature of the business                   Employer Identification number
                                                                                                                 Do not include Social Security number or ITIN.
 25.1.
                                                                                                                EIN:           –
          Name
                                                                                                                 Dates business existed
          Street
                                                                                                                From                     To



          City                   State   ZIP Code


 26. Books, records, and financial statements

 26a. List   all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
        ❑None
            Name and address                                                                                       Dates of service

 26a.1.     Bob Fumaglii                                                                                          From                    To 1/2019
           Name
            9977 W. Sam Houston Parkway N 150
           Street



            Houston, TX 77064
           City                                                 State                     ZIP Code



 26b.      List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a
           financial statement within 2 years before filing this case.
           ❑None




Official Form 207                                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 9
                               Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 37 of 44

Debtor         C-CO Holdings, LLC                                                                                  Case number (if known)               20-32746
              Name


            Name and address                                                                                    Dates of service

 26b.1.     Billy Johnson                                                                                       From                   To 11/2018
           Name
            9977 W. Sam Houston Parkway N. 150
           Street



            Houston, TX 77064
           City                                                State                     ZIP Code



 26c.      List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
           ✔None
           ❑
            Name and address                                                                                    If any books of account and records are
                                                                                                                unavailable, explain why
 26c.1.


           Name


           Street




           City                                                State                     ZIP Code




 26d. List   all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued
        a financial statement within 2 years before filing this case.
        ✔None
        ❑
            Name and address

 26d.1.
           Name


           Street




           City                                                State                     ZIP Code

 27. Inventories
        Have any inventories of the debtor’s property been taken within 2 years before filing this case?
        ✔ No
        ❑
        ❑Yes. Give the details about the two most recent inventories.

    Name of the person who supervised the taking of the inventory                                   Date of            The dollar amount and basis (cost, market, or
                                                                                                    inventory          other basis) of each inventory




Official Form 207                                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 10
                             Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 38 of 44

Debtor          C-CO Holdings, LLC                                                                                  Case number (if known)                 20-32746
                Name



          Name and address of the person who has possession of inventory records

 27.1.
         Name


         Street




         City                                        State                 ZIP Code

 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in control of the
     debtor at the time of the filing of this case.

    Name                               Address                                                      Position and nature of any interest      % of interest, if any


                                                                                                    ,                                        0.00%

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of the debtor, or
     shareholders in control of the debtor who no longer hold these positions?
     ✔ No
     ❑
     ❑Yes. Identify below.
    Name                               Address                                                      Position and nature of any        Period during which
                                                                                                    interest                          position or interest was held



                                                                                                ,                                         From
                                                                                                                                          To

 30. Payments, distributions, or withdrawals credited or given to insiders

     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans, credits on
     loans, stock redemptions, and options exercised?
     ✔ No
     ❑
     ❑Yes. Identify below.
          Name and address of recipient                                            Amount of money or                 Dates                  Reason for providing
                                                                                   description and value of                                  the value
                                                                                   property

 30.1.
         Name


         Street




         City                                      State          ZIP Code


          Relationship to debtor




Official Form 207                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 11
                             Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 39 of 44

Debtor      C-CO Holdings, LLC                                                                                      Case number (if known)                20-32746
           Name


 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     ✔ No
     ❑
     ❑Yes. Identify below.
         Name of the parent corporation                                                                Employer Identification number of the parent corporation

                                                                                                       EIN:           –




 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     ✔ No
     ❑
     ❑Yes. Identify below.
         Name of the pension fund                                                                      Employer Identification number of the pension fund

                                                                                                       EIN:           –

 Part 14: Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
      bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and correct.


      I declare under penalty of perjury that the foregoing is true and correct.


      Executed on         05/26/2020
                      MM/ DD/ YYYY




           ✘ /s/ Christopher George Cone
               Signature of individual signing on behalf of the debtor



                Position or relationship to debtor
                               President



         Printed name                      Christopher George Cone



          Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
           ✔ No
           ❑
           ❑Yes




Official Form 207                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 12
Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 40 of 44


                        Ace Cash Advance
                        300 E John Carpenter Fwy Ste 900
                        Irving, TX 75062-2789




                        Alexander Oil Company
                        PO Box 769
                        Brenham, TX 77833




                        Amber Hauling




                        John Beck




                        Breakerside




                        George Cone




                        Robert Cone




                        Tom Cone
Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 41 of 44


                        Deere & Company
                        Deere & Company
                        6400 Nw 86th St
                        Johnston, IA 50131-2945



                        First Corporate Solutions
                        914 S St
                        Sacramento, CA 95811-7025




                        Jerry Fletcher




                        Erin Flower




                        Gas Starter




                        Cedrion Golden




                        Justin Heste




                        Hez Westheimer
Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 42 of 44


                        Insurors Indemnity General
                        Agency, Inc
                        225 S 5th St
                        Waco, TX 76701-2112



                        Internal Revenue Service
                        P.O. Box 7346
                        Philadelphia, PA 19101




                        KJE




                        Kubota Credit Corportation,
                        U.S.A
                        PO Box 2046
                        Grapevine, TX 76099-2046



                        Kyle McCoal




                        Quick Gas




                        Cliffe Reckling




                        Shoyrea
Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 43 of 44


                        Tex Frames




                        United




                        Roy Lee Walker
                  Case 20-32746 Document 3 Filed in TXSB on 05/26/20 Page 44 of 44

                                                    IN THE UNITED STATES BANKRUPTCY COURT
                                                          SOUTHERN DISTRICT OF TEXAS
                                                                HOUSTON DIVISION

IN RE: C-CO Holdings, LLC                                                                   CASE NO 20-32746

                                                                                            CHAPTER 11




                                                     VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      05/26/2020              Signature                                 /s/ C-CO Holdings, LLC
                                                                        Christopher George Cone, President
